                         Case 1-17-40104-cec               Doc 1        Filed 01/11/17           Entered 01/11/17 02:35:42



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                PRIME SIX INC.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Woodland NYC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  242 Flatbush Avenue                                             15 Bay 24th Street, 2nd Floor
                                  Brooklyn, NY 11217                                              Brooklyn, NY 11214
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  242 Flatbush Avenue Brooklyn, NY 11217
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.woodlandnyc.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    PRIME SIX INC.                                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4453

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District   EDNY (Dismissed)              When       5/20/15                    Case number   15-42334
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   PRIME SIX INC.                                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    PRIME SIX INC.                                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 11, 2017
                                                  MM / DD / YYYY


                             X   /s/ Akiva Ofshtein                                                       Akiva Ofshtein
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Randall S. D. Jacobs                                                  Date January 11, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Randall S. D. Jacobs
                                 Printed name

                                 Randall S. D. Jacobs, PLLC
                                 Firm name

                                 30 Wall Street, 8th Floor
                                 New York, NY 10005
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 709-8116                Email address      rsdjacobs@chapter11esq.com

                                 1513589
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                       Case 1-17-40104-cec                           Doc 1       Filed 01/11/17             Entered 01/11/17 02:35:42




 Fill in this information to identify the case:

 Debtor name         PRIME SIX INC.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 11, 2017                        X /s/ Akiva Ofshtein
                                                                       Signature of individual signing on behalf of debtor

                                                                       Akiva Ofshtein
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                            Case 1-17-40104-cec                      Doc 1         Filed 01/11/17               Entered 01/11/17 02:35:42



 Fill in this information to identify the case:
 Debtor name PRIME SIX INC.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Aramark Uniform                                                Services rendered                                                                                         $13,162.77
 Services
 1101 Market Street
 Philadelphia, PA
 19107
 Arrow Linen                                                    Services rendered                                                                                           $7,049.22
 Supplys Co.
 475 Main Street,
 Suite 1F
 Farmingdale, NY
 11735
 Bank Direct Capital                                            FUNDS LOANED                                                                                                $8,441.58
 Fin.
 1010 Franklin
 Avenue
 Ste 406
 Garden City, NY
 11530
 Dairyland USA Corp.                                            Goods sold and                                                                                            $13,229.60
 1300 Viele Avenue                                              delivered
 Bronx, NY 10474
 DeBragga & Spitler                                             Trade debt                                                                                                $14,528.78
 Inc.
 65 Amity Street
 Jersey City, NJ
 07304
 Department of                                                  Kitchen                                             $361,476.61                  Unknown                  $70,975.00
 Treasury                                                       equipment,
 Internal Revenue                                               fixtures, audio,
 Service                                                        lighting, and video
 2 Metrotech Center                                             equipment, POS
 Brooklyn, NY 11201                                             system,
 Endicott Meats                                                 Goods sold and                                                                                              $8,023.93
 355 Food Center                                                delivered
 Drive B23
 Bronx, NY 10474



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                            Case 1-17-40104-cec                      Doc 1         Filed 01/11/17               Entered 01/11/17 02:35:42




 Debtor    PRIME SIX INC.                                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Fang Realty, Corp.                                             Landlord                Unliquidated                                                                    $200,000.00
 200 Sterling Place                                                                     Disputed
 #A
 Brooklyn, NY 11238
 Fang Realty, Corp.                                             Security Deposit        Unliquidated                $200,000.00                 $46,917.00              $153,083.00
 200 Sterling Place                                             on Lease of             Disputed
 #A                                                             business
 Brooklyn, NY 11238                                             premises: 242
                                                                FlatbushAvenue,
                                                                Brooklyn, NY
 Lobster Place                                                  Goods sold and                                                                                              $7,072.13
 531-533 Bryant                                                 delivered
 Avenue
 Bronx, NY 10474
 NYC Dep. Of                                                    SALES TAXES             Unliquidated                                                                        $7,774.78
 Finance Bankr                                                                          Disputed
 345 Adams st
 Brooklyn, NY 11201
 NYS Department of                                                                      Unliquidated                                                                      $31,034.43
 Labor                                                                                  Disputed
 Building 12, Room
 256
 Unemployment Ins.
 Div.
 Albany, NY 12240
 NYS Dept Sales Tax                                             SALES TAXES                                                                                             $287,694.80
 METROPOLITAN
 DISTRICT
 55 HANSEN PLACE
 Brooklyn, NY 11217
 NYS Dept. of Labor                                             Unemployment                                                                                               Unknown
 Unempl                                                         Insurance
 PO Box 4301
 Binghamton, NY
 13902
 NYS Dept.Tax Fin.                                              Withholding                                                                                             $111,124.28
 WA Harriman                                                    Taxes
 Campus
 Albany, NY
 12227-0001
 On Hold Marketing                                              Services rendered                                                                                         $11,999.25
 52 Main street S-3
 Succasunna, NJ
 07876
 Performance Food                                               Goods sold and                                                                                              $7,000.00
 Service                                                        delivered
 1 Ikea Drive
 Elizabeth, NJ 07207
 Piccinini Brothers                                             Trade debt                                                                                                  $5,899.98
 Inc.
 633 Ninth ave
 New York, NY 10036


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    PRIME SIX INC.                                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Sid Wainer & Son                                               Trade debt                                                                                                  $5,877.34
 PO Box 50240
 New Bedford, MA
 02746
 Sysco Long Island,                                             Goods sold and                                                                                              $6,145.15
 LLC, c                                                         delivered
 171 17th street, NW,
 Suit
 Atlanta, GA
 30363-1031




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            PRIME SIX INC.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            47,417.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            47,417.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           561,476.61


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           530,283.50

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           364,371.17


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,456,131.28




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         PRIME SIX INC.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                      $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Cash on hand                                             Checking Account               3278                                       $500.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $500.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposit on Lease of business premises: 242 FlatbushAvenue, Brooklyn, NY                                                $46,917.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         PRIME SIX INC.                                                                Case number (If known)
                Name


 9.        Total of Part 2.                                                                                                          $46,917.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Kitchen equipment, fixtures, audio, lighting,
           and video equipment, POS system,                                             $8,000.00      Liquidation                         Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                     $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         PRIME SIX INC.                                                               Case number (If known)
                Name

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 3
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                         Case 1-17-40104-cec                             Doc 1            Filed 01/11/17                   Entered 01/11/17 02:35:42


 Debtor          PRIME SIX INC.                                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $500.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $46,917.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $47,417.00          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $47,417.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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                         Case 1-17-40104-cec                         Doc 1       Filed 01/11/17              Entered 01/11/17 02:35:42


 Fill in this information to identify the case:

 Debtor name         PRIME SIX INC.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Department of Treasury                         Describe debtor's property that is subject to a lien                 $361,476.61                  Unknown
       Creditor's Name                                Kitchen equipment, fixtures, audio, lighting,
       Internal Revenue Service                       and video equipment, POS system,
       2 Metrotech Center
       Brooklyn, NY 11201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2012-15                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Fang Realty, Corp.                             Describe debtor's property that is subject to a lien                 $200,000.00                 $46,917.00
       Creditor's Name                                Security Deposit on Lease of business
                                                      premises: 242 FlatbushAvenue, Brooklyn, NY
       200 Sterling Place #A
       Brooklyn, NY 11238
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       PRIME SIX INC.                                                                     Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $561,476.61

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         PRIME SIX INC.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $7,774.78          $7,774.78
           NYC Dep. Of Finance Bankr                                 Check all that apply.
           345 Adams st                                                 Contingent
           Brooklyn, NY 11201                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     SALES TAXES
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $31,034.43           $31,034.43
           NYS Department of Labor                                   Check all that apply.
           Building 12, Room 256                                        Contingent
           Unemployment Ins. Div.                                       Unliquidated
           Albany, NY 12240
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 13
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                        Case 1-17-40104-cec                          Doc 1           Filed 01/11/17                  Entered 01/11/17 02:35:42


 Debtor       PRIME SIX INC.                                                                                  Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                      $287,694.80          $287,694.80
           NYS Dept Sales Tax                                        Check all that apply.
           METROPOLITAN DISTRICT                                        Contingent
           55 HANSEN PLACE                                              Unliquidated
           Brooklyn, NY 11217                                           Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     SALES TAXES
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $92,448.16         Unknown
           NYS Dept. of Labor Unempl                                 Check all that apply.
           PO Box 4301                                                  Contingent
           Binghamton, NY 13902                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           12/26/16                                                  Unemployment Insurance

           Last 4 digits of account number 2052                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $207.05        $0.00
           NYS Dept.Tax Fin.                                         Check all that apply.
           WA Harriman Campus                                           Contingent
           Albany, NY 12227-0001                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Corporation taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                      $111,124.28          $111,124.28
           NYS Dept.Tax Fin.                                         Check all that apply.
           WA Harriman Campus                                           Contingent
           Albany, NY 12227-0001                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Withholding Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 13
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 Debtor       PRIME SIX INC.                                                                          Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          A STERN MEAT PRODUCTS                                                 Contingent
          560 First Avenue, Bldg. B                                             Unliquidated
          Brooklyn, NY 11220                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,397.70
          ACE Endico Corp                                                       Contingent
          254 South Main Street                                                 Unliquidated
          Suite 406                                                             Disputed
          New City, NY 10956
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          All in One Entertainment                                              Contingent
          96-20 Atlantic Avenue 2nd                                             Unliquidated
          Kew Gardens, NY 11415
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Amy's Bread                                                           Contingent
          75 Ninth avenue 15th stre                                             Unliquidated
          New York, NY 10011
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,162.77
          Aramark Uniform Services                                              Contingent
          1101 Market Street                                                    Unliquidated
          Philadelphia, PA 19107                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,049.22
          Arrow Linen Supplys Co.                                               Contingent
          475 Main Street, Suite 1F                                             Unliquidated
          Farmingdale, NY 11735                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,539.08
          Badlor Specialty Foods c/                                             Contingent
          c/o A. Squire                                                         Unliquidated
          475 Main Street, Suite 1F                                             Disputed
          Farmingdale, NY 11735
                                                                             Basis for the claim:    Goods sold and delivered
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 13
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 Debtor       PRIME SIX INC.                                                                          Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,441.58
          Bank Direct Capital Fin.                                              Contingent
          1010 Franklin Avenue                                                  Unliquidated
          Ste 406                                                               Disputed
          Garden City, NY 11530
                                                                             Basis for the claim:    FUNDS LOANED
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $313.05
          Bartlett Dairy, Inc.                                                  Contingent
          105-03 150th street                                                   Unliquidated
          Jamaica, NY 11435                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,072.01
          Bien Cuit                                                             Contingent
          120 Smith street                                                      Unliquidated
          Brooklyn, NY 11201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,110.44
          Borax Paper Products Inc.                                             Contingent
          1390 Spofford avenue                                                  Unliquidated
          Bronx, NY 10474                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          Brooklyn Brewery                                                      Contingent
          79 North 11th street                                                  Unliquidated
          Brooklyn, NY 11249                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          Brooklyn Nets, LLC                                                    Contingent
          f/k/a NJ Basketball LLC                                               Unliquidated
          15 Metrotech Center 11th                                              Disputed
          Brooklyn, NY 11201
                                                                             Basis for the claim:    Services rendered
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,361.41
          Capital One Deposit Recov                                             Contingent
          PO Box 259360                                                         Unliquidated
          Plano, TX 75025                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 13
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 Debtor       PRIME SIX INC.                                                                          Case number (if known)
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $257.89
          Chief Fire Prevention                                                 Contingent
          10 West Broad Street                                                  Unliquidated
          Mount Vernon, NY 10552                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,248.41
          D' Artagnan                                                           Contingent
          280 Wilson ave                                                        Unliquidated
          Newark, NJ 07105                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,229.60
          Dairyland USA Corp.                                                   Contingent
          1300 Viele Avenue                                                     Unliquidated
          Bronx, NY 10474                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,528.78
          DeBragga & Spitler Inc.                                               Contingent
          65 Amity Street                                                       Unliquidated
          Jersey City, NJ 07304                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300.00
          Domaine Select Merchants                                              Contingent
          555 8th avenue suite 2302                                             Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $698.12
          Dutch Girl Cheese                                                     Contingent
          PO Box 199                                                            Unliquidated
          Leonardsville, NY 13364                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,196.80
          Ecolab                                                                Contingent
          PO Box 905327                                                         Unliquidated
          Charlotte, NC 28290                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 13
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 Debtor       PRIME SIX INC.                                                                          Case number (if known)
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,023.93
          Endicott Meats                                                        Contingent
          355 Food Center Drive B23                                             Unliquidated
          Bronx, NY 10474                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          Environmental Con. Board                                              Contingent
          PO Box 2307 Peck Slip Sta                                             Unliquidated
          New York, NY 10038                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Fang Realty, Corp.                                                    Contingent
          200 Sterling Place #A                                                 Unliquidated
          Brooklyn, NY 11238
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $673.06
          FedEx c/o Slater. Tenagli                                             Contingent
          PO Box 5476                                                           Unliquidated
          Mount Laurel, NJ 08054                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $771.74
          Fossil Farms                                                          Contingent
          81 Fulton Street                                                      Unliquidated
          Boonton, NJ 07005                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300.00
          Go Fresh Produce                                                      Contingent
          162-08 91st                                                           Unliquidated
          Howard Beach, NY 11414                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Integrity Payment System                                              Contingent
          1700 W. Higgins Road suit                                             Unliquidated
          Des Plaines, IL 60018
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit card processing services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       PRIME SIX INC.                                                                          Case number (if known)
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,635.39
          Intellig Roasting & Tea                                               Contingent
          1850 West Fulton street                                               Unliquidated
          Chicago, IL 60612                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ISG Capital, INC                                                      Contingent
          24 W. Hamilton Avenue                                                 Unliquidated
          Engelwood, NJ 07631
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FUNDS LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $961.78
          Kingston Check Cashing Co                                             Contingent
          1103 Quentin Road                                                     Unliquidated
          Brooklyn, NY 11229                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,072.13
          Lobster Place                                                         Contingent
          531-533 Bryant Avenue                                                 Unliquidated
          Bronx, NY 10474                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          M. Tucker                                                             Contingent
          1200 Madison Avenue                                                   Unliquidated
          Paterson, NJ 07503                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Magnifique Cleaning Ser                                               Contingent
          461 Wayne Street floor 2                                              Unliquidated
          Jersey City, MA 02306
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,553.52
          MHW LTD                                                               Contingent
          1129 Northern Blvd Suite                                              Unliquidated
          Manhasset, NY 11030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       PRIME SIX INC.                                                                          Case number (if known)
              Name

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Michael Skurnik Wines                                                 Contingent
          PO Box 1315                                                           Unliquidated
          Syosset, NY 11791                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          Network Services Company                                              Contingent
          1805 Momentum Place                                                   Unliquidated
          Chicago, IL 60689                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NYC Health Department                                                 Contingent
          295 Flatbush ave ext                                                  Unliquidated
          Brooklyn, NY 11201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fine
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          NYC Office of Administrat                                             Contingent
          66 John St, 10th floor                                                Unliquidated
          c/o James Macron                                                      Disputed
          New York, NY 10038
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,999.25
          On Hold Marketing                                                     Contingent
          52 Main street S-3                                                    Unliquidated
          Succasunna, NJ 07876                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $700.00
          Opici Wine Group                                                      Contingent
          25 Deboer Drive                                                       Unliquidated
          Glen Rock, NJ 07452                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          Paisanos Provisions                                                   Contingent
          162 Smith street                                                      Unliquidated
          Brooklyn, NY 11201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       PRIME SIX INC.                                                                          Case number (if known)
              Name

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Paper Enterprises, Inc                                                Contingent
          770 East 132nd street                                                 Unliquidated
          Bronx, NY 10454
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Performance Food Service                                              Contingent
          1 Ikea Drive                                                          Unliquidated
          Elizabeth, NJ 07207                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,899.98
          Piccinini Brothers Inc.                                               Contingent
          633 Ninth ave                                                         Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $517.14
          Pipe Dream                                                            Contingent
          857 Union street 2-c                                                  Unliquidated
          Brooklyn, NY 11215                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Priority Payment System                                               Contingent
          PO Box 246                                                            Unliquidated
          Alpharetta, GA 30009                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit card processing services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          Samuels & Son Seafood, Co                                             Contingent
          800 N. Kings Highway Suit                                             Unliquidated
          c/o Saldutti, LLC                                                     Disputed
          Cherry Hill, NJ 08034
                                                                             Basis for the claim:    Goods sold and delivered
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,976.00
          Satur Farm                                                            Contingent
          3705 Alvahs Lane                                                      Unliquidated
          Cutchogue, NY 11935                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       PRIME SIX INC.                                                                          Case number (if known)
              Name

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,938.33
          Sea Creast Linen                                                      Contingent
          46 Crown street                                                       Unliquidated
          Brooklyn, NY 11225                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,877.34
          Sid Wainer & Son                                                      Contingent
          PO Box 50240                                                          Unliquidated
          New Bedford, MA 02746                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Super PC System, Inc.                                                 Contingent
          78 Bay 50 street 1st Floo                                             Unliquidated
          Brooklyn, NY 11214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,145.15
          Sysco Long Island, LLC, c                                             Contingent
          171 17th street, NW, Suit                                             Unliquidated
          Atlanta, GA 30363-1031                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300.00
          The Brooklyn Union Gas Co                                             Contingent
          One MetroTech Center                                                  Unliquidated
          Brooklyn, NY 11201-3850                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          The Pay-O-Matic Corp.                                                 Contingent
          160 Oak Drive                                                         Unliquidated
          Syosset, NY 11791                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Tom Cat Bakery Inc., c/o                                              Contingent
          20 Vesey st Rm 1406                                                   Unliquidated
          New York, NY 10007                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          TransFirst                                                            Contingent
          12202 Airport Way Suite 1                                             Unliquidated
          Broomfield, CO 80021                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,501.55
          Two Cousins Fish Market,                                              Contingent
          75 Bennington ave                                                     Unliquidated
          Freeport, NY 11520                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,501.55
          USA Wine Imports                                                      Contingent
          285 West Broadway suite 3                                             Unliquidated
          New York, NY 10013                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          Verizon                                                               Contingent
          PO BOX 1100                                                           Unliquidated
          Brooklyn, NY 11225                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          Warwick Valley Wine                                                   Contingent
          PO Box 354                                                            Unliquidated
          Warwick, NY 10990                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $925.00
          Wesco Insurance Company ,                                             Contingent
          800 Superior ave East, 20                                             Unliquidated
          Cleveland, OH 44114                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $591.47
          Western Pest Services                                                 Contingent
          483 10th avenue S-100                                                 Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       PRIME SIX INC.                                                                          Case number (if known)
              Name

 3.64      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,000.00
           Winebow                                                              Contingent
           PO Box 416663                                                        Unliquidated
           Boston, MA 02241                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       A. Squire, Esq.
           475 Main Street, Suite 1F                                                                  Line     3.7
           Farmingdale, NY 11735
                                                                                                             Not listed. Explain

 4.2       ACE Endico Corp
           c/o Darren Epstein, Esq.                                                                   Line     3.2
           254 South Main St. #406
                                                                                                             Not listed. Explain
           New City, NY 10956

 4.3       Attard & Associates
           475 Main Street, Suite 1F                                                                  Line     3.6
           Farmingdale, NY 11735
                                                                                                             Not listed. Explain

 4.4       Heitner & Breitstein
           28 North Main Street                                                                       Line     3.18
           Marlboro, NJ 07746
                                                                                                             Not listed. Explain

 4.5       Heitner & Breitstein
           28 North Main Street                                                                       Line     3.27
           Marlboro, NJ 07746
                                                                                                             Not listed. Explain

 4.6       Jeff Gewirtz Esq.
           15 Metrotech Center 11th                                                                   Line     3.13
           Brooklyn, NY 11201
                                                                                                             Not listed. Explain

 4.7       RJK Recovery Group
           1670 Old COuntry Road                                                                      Line     3.27
           Plainview, NY 11803
                                                                                                             Not listed. Explain

 4.8       Stephen Einstein & Assoc.
           39 Broadway, Ste. 1250                                                                     Line     3.56
           New York, NY 10006
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                     530,283.50
 5b. Total claims from Part 2                                                                            5b.    +     $                     364,371.17




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              Name


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.      $             894,654.67




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 Fill in this information to identify the case:

 Debtor name         PRIME SIX INC.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                         Name                      Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State        Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State        Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State        Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State        Zip Code




Official Form 206H                                                                 Schedule H: Your Codebtors                                 Page 1 of 1
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       PRIME SIX INC.                                                                                   Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 11, 2017                                                             /s/ Randall S. D. Jacobs
     Date                                                                         Randall S. D. Jacobs
                                                                                  Signature of Attorney
                                                                                  Randall S. D. Jacobs, PLLC
                                                                                  30 Wall Street, 8th Floor
                                                                                  New York, NY 10005
                                                                                  (212) 709-8116 Fax: (973) 226-8897
                                                                                  rsdjacobs@chapter11esq.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      PRIME SIX INC.                                                                                            Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Akiva Ofshtein, Esq.                                                Common stock 200                                            Sole stockholder
 1723 East 12th Street
 Brooklyn, NY 11229


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date January 11, 2017                                                        Signature /s/ Akiva Ofshtein
                                                                                            Akiva Ofshtein

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      PRIME SIX INC.                                                                                    Case No.
                                                                                    Debtor(s)                 Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:       January 11, 2017                                            /s/ Akiva Ofshtein
                                                                         Akiva Ofshtein/President
                                                                         Signer/Title

 Date: January 11, 2017                                                  /s/ Randall S. D. Jacobs
                                                                         Signature of Attorney
                                                                         Randall S. D. Jacobs
                                                                         Randall S. D. Jacobs, PLLC
                                                                         30 Wall Street, 8th Floor
                                                                         New York, NY 10005
                                                                         (212) 709-8116 Fax: (973) 226-8897




USBC-44                                                                                                                          Rev. 9/17/98


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                   A STERN MEAT PRODUCTS
                   560 First Avenue, Bldg. B
                   Brooklyn, NY 11220


                   A. Squire, Esq.
                   475 Main Street, Suite 1F
                   Farmingdale, NY 11735


                   ACE Endico Corp
                   254 South Main Street
                   Suite 406
                   New City, NY 10956


                   ACE    Endico Corp
                   c/o    Darren Epstein, Esq.
                   254    South Main St. #406
                   New    City, NY 10956


                   All in One Entertainment
                   96-20 Atlantic Avenue 2nd
                   Kew Gardens, NY 11415


                   Amy's Bread
                   75 Ninth avenue 15th stre
                   New York, NY 10011


                   Aramark Uniform Services
                   1101 Market Street
                   Philadelphia, PA 19107


                   Arrow Linen Supplys Co.
                   475 Main Street, Suite 1F
                   Farmingdale, NY 11735


                   Attard & Associates
                   475 Main Street, Suite 1F
                   Farmingdale, NY 11735


                   Badlor Specialty Foods c/
                   c/o A. Squire
                   475 Main Street, Suite 1F
                   Farmingdale, NY 11735
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               Bank Direct Capital Fin.
               1010 Franklin Avenue
               Ste 406
               Garden City, NY 11530


               Bartlett Dairy, Inc.
               105-03 150th street
               Jamaica, NY 11435


               Bien Cuit
               120 Smith street
               Brooklyn, NY 11201


               Borax Paper Products Inc.
               1390 Spofford avenue
               Bronx, NY 10474


               Brooklyn Brewery
               79 North 11th street
               Brooklyn, NY 11249


               Brooklyn Nets, LLC
               f/k/a NJ Basketball LLC
               15 Metrotech Center 11th
               Brooklyn, NY 11201


               Capital One Deposit Recov
               PO Box 259360
               Plano, TX 75025


               Chief Fire Prevention
               10 West Broad Street
               Mount Vernon, NY 10552


               D' Artagnan
               280 Wilson ave
               Newark, NJ 07105


               Dairyland USA Corp.
               1300 Viele Avenue
               Bronx, NY 10474


               DeBragga & Spitler Inc.
               65 Amity Street
               Jersey City, NJ 07304
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               Department of Treasury
               Internal Revenue Service
               2 Metrotech Center
               Brooklyn, NY 11201


               Domaine Select Merchants
               555 8th avenue suite 2302
               New York, NY 10018


               Dutch Girl Cheese
               PO Box 199
               Leonardsville, NY 13364


               Ecolab
               PO Box 905327
               Charlotte, NC 28290


               Endicott Meats
               355 Food Center Drive B23
               Bronx, NY 10474


               Environmental Con. Board
               PO Box 2307 Peck Slip Sta
               New York, NY 10038


               Fang Realty, Corp.
               200 Sterling Place #A
               Brooklyn, NY 11238


               Fang Realty, Corp.
               200 Sterling Place
               Suite 1A
               Brooklyn, NY 11238


               FedEx c/o Slater. Tenagli
               PO Box 5476
               Mount Laurel, NJ 08054


               Fossil Farms
               81 Fulton Street
               Boonton, NJ 07005


               Go Fresh Produce
               162-08 91st
               Howard Beach, NY 11414
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               Heitner & Breitstein
               28 North Main Street
               Marlboro, NJ 07746


               Integrity Payment System
               1700 W. Higgins Road suit
               Des Plaines, IL 60018


               Intellig Roasting & Tea
               1850 West Fulton street
               Chicago, IL 60612


               ISG Capital, INC
               24 W. Hamilton Avenue
               Engelwood, NJ 07631


               Jeff Gewirtz Esq.
               15 Metrotech Center 11th
               Brooklyn, NY 11201


               Kingston Check Cashing Co
               1103 Quentin Road
               Brooklyn, NY 11229


               Lobster Place
               531-533 Bryant Avenue
               Bronx, NY 10474


               M. Tucker
               1200 Madison Avenue
               Paterson, NJ 07503


               Magnifique Cleaning Ser
               461 Wayne Street floor 2
               Jersey City, MA 02306


               MHW LTD
               1129 Northern Blvd Suite
               Manhasset, NY 11030


               Michael Skurnik Wines
               PO Box 1315
               Syosset, NY 11791
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               Network Services Company
               1805 Momentum Place
               Chicago, IL 60689


               NYC Dep. Of Finance Bankr
               345 Adams st
               Brooklyn, NY 11201


               NYC Health Department
               295 Flatbush ave ext
               Brooklyn, NY 11201


               NYC Office of Administrat
               66 John St, 10th floor
               c/o James Macron
               New York, NY 10038


               NYS Department of Labor
               Building 12, Room 256
               Unemployment Ins. Div.
               Albany, NY 12240


               NYS Dept Sales Tax
               METROPOLITAN DISTRICT
               55 HANSEN PLACE
               Brooklyn, NY 11217


               NYS Dept. of Labor Unempl
               PO Box 4301
               Binghamton, NY 13902


               NYS Dept.Tax Fin.
               WA Harriman Campus
               Albany, NY 12227-0001


               On Hold Marketing
               52 Main street S-3
               Succasunna, NJ 07876


               Opici Wine Group
               25 Deboer Drive
               Glen Rock, NJ 07452
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               Paisanos Provisions
               162 Smith street
               Brooklyn, NY 11201


               Paper Enterprises, Inc
               770 East 132nd street
               Bronx, NY 10454


               Performance Food Service
               1 Ikea Drive
               Elizabeth, NJ 07207


               Piccinini Brothers Inc.
               633 Ninth ave
               New York, NY 10036


               Pipe Dream
               857 Union street 2-c
               Brooklyn, NY 11215


               Priority Payment System
               PO Box 246
               Alpharetta, GA 30009


               RJK Recovery Group
               1670 Old COuntry Road
               Plainview, NY 11803


               Samuels & Son Seafood, Co
               800 N. Kings Highway Suit
               c/o Saldutti, LLC
               Cherry Hill, NJ 08034


               Satur Farm
               3705 Alvahs Lane
               Cutchogue, NY 11935


               Sea Creast Linen
               46 Crown street
               Brooklyn, NY 11225


               Sid Wainer & Son
               PO Box 50240
               New Bedford, MA 02746
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               Stephen Einstein & Assoc.
               39 Broadway, Ste. 1250
               New York, NY 10006


               Super PC System, Inc.
               78 Bay 50 street 1st Floo
               Brooklyn, NY 11214


               Sysco Long Island, LLC, c
               171 17th street, NW, Suit
               Atlanta, GA 30363-1031


               The Brooklyn Union Gas Co
               One MetroTech Center
               Brooklyn, NY 11201-3850


               The Pay-O-Matic Corp.
               160 Oak Drive
               Syosset, NY 11791


               Tom Cat Bakery Inc., c/o
               20 Vesey st Rm 1406
               New York, NY 10007


               TransFirst
               12202 Airport Way Suite 1
               Broomfield, CO 80021


               Two Cousins Fish Market,
               75 Bennington ave
               Freeport, NY 11520


               USA Wine Imports
               285 West Broadway suite 3
               New York, NY 10013


               Verizon
               PO BOX 1100
               Brooklyn, NY 11225


               Warwick Valley Wine
               PO Box 354
               Warwick, NY 10990
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               Wesco Insurance Company ,
               800 Superior ave East, 20
               Cleveland, OH 44114


               Western Pest Services
               483 10th avenue S-100
               New York, NY 10018


               Winebow
               PO Box 416663
               Boston, MA 02241
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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      PRIME SIX INC.                                                                                 Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for PRIME SIX INC. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 January 11, 2017                                                      /s/ Randall S. D. Jacobs
 Date                                                                  Randall S. D. Jacobs
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for PRIME SIX INC.
                                                                       Randall S. D. Jacobs, PLLC
                                                                       30 Wall Street, 8th Floor
                                                                       New York, NY 10005
                                                                       (212) 709-8116 Fax:(973) 226-8897
                                                                       rsdjacobs@chapter11esq.com




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                                                      UNITED STATES BANKRUPTCY COURT
                                                       EASTERN DISTRICT OF NEW YORK


                                                         STATEMENT PURSUANT TO LOCAL
                                                           BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):                  PRIME SIX INC.                                                             CASE NO.:.
        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

    NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

    THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.: 15-42334                    JUDGE:                  DISTRICT/DIVISION: EDNY (Dismissed)

CASE STILL PENDING (Y/N):                         N                     [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                                       Prior Filing 5/20/2015

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:                    JUDGE:                   DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:                    JUDGE:                   DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:




                                                                                   (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):                       Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


 /s/ Randall S. D. Jacobs
 Randall S. D. Jacobs
 Signature of Debtor's Attorney                                                             Signature of Pro Se Debtor/Petitioner
 Randall S. D. Jacobs, PLLC
 30 Wall Street, 8th Floor
 New York, NY 10005
 (212) 709-8116 Fax:(973) 226-8897                                                          Signature of Pro Se Joint Debtor/Petitioner


                                                                                            Mailing Address of Debtor/Petitioner


                                                                                            City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                                               Rev.8/11/2009
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